Case 2:12-cv-03319-SDW-SCM Document 96 Filed 07/25/19 Page 1 of 58 PagelD: 979

Cathleen Perez & vis take | a Buenas i
Alejandro Perez ees
236 Mabel Ann Ave a SE Om eg
Franklin Lks, NJ 07417 - —
perezcap@optonline.net
(201) 906-5167
To:
Honorable Claire C. Cecchi U.S.D.J.
US. District Court for the District of New Jersey
50 Walnut Street
Newark, New Jersey 07101

Re: Perez, et al. v. JPMorgan Chase Bank, N.A. et al.
Civil Action No 2:14-cv-02279-CCC-JBC

RE: To Keep Court Informed
Exhibit Related To State Foreclosure Case

July 25, 2019

Dear Judge Cecchi,

Good Afternoon,

Previously we have provided a copy to this Honorable Court of our motion as filed in the
Superior Court of New Jersey Chancery Division Bergen County, for a more Definite Statement,
in our state foreclosure action.

Today, we provide the court with a copy of the Opposition Pleading as filed by the defendant
Chase, together with our reply, all filed in the state foreclosure action.

This is being provided to the court for informational purposes since the court is currently
considering a motion for Abstention as filed by Chase under the Colorado River Doctrine,

currently pending before this Honorable Court.

A true copy of submission has been provided to defendants counsel.

Respectfully Submitted,
Case 2:12-cv-03319-SDW-SCM Document 96 Filed 07/25/19 Page 2 of 58 PagelD: 980

SS

Cathleen Perez,

Plaintiff Po? e’

nd \
Alejandro*Perez,

Plaintiff pro se’

 

 

Dated: July 25th, 2019

Attached:

(1) Attached Defendant Reply to Chase’s Letter Dated July 18, 2019 In Response to Plaintiffs Opposition
of the Defendants Motion for a More Definite Statement +

(2) Attached Chase Letter Brief In Opposition To Perez Defendant Motion To File A More Definite
Statement Pursuant To Rule 4:64
Case 2:12-cv-03319-SDW-SCM Document 96 Filed 07/25/19 Page 3 of 58 PagelID: 981

CERTIFICATION OF SERVICE

That I Cathleen Perez, the Plaintiff/Applicant in the above entitled matter do certify
that I have caused defendant counsel to be served with a True copy of within legal papers
delivered to the address below deposited in the U.S. Post Office on July 25" 2019:
DELIVERED VIA U.S. CERTIFIED MAIL :

To: JP MORGAN CHASE, N.A.
Attn: Attorney for Plaintiffs
Cristina Z. Sinclair, Esq.
Bertone Piccini, LLP.

777 Terrace Avenue, Suite 201
Hasbrouck Heights, NJ 07604

Y 2
Cathleen Perez,
Plaintiffs pro se’

 

July 25, 2019
Case 2:12-cv-03319-SDW-SCM Document 96 Filed 07/25/19 Page 4 of 58 PagelD: 982

(1) Attached Defendant’ Perez” Reply to Chase's Letter Dated July 18,
2019 In Response to Plaintiffs Opposition of the Defendants Motion for
a More Definite Statement
Case 2:12-cv-03319-SDW-SCM Document 96 Filed 07/25/19 Page 5 of 58 PagelD: 983
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game Pon WW a } Cathleen Perez
WNauae 7 236 Mabel Ann Ave
JUL 24 2013 Franklin Lks, New Jersey 07417

ce AOLITT perezcap@optonline.net
i: 2S 201-906-5167

(Ls -
Sent Certified USPS & Hand Delivered
Hon. Edward A. Jerejian, P.J.Ch.

Bergen County Courthouse
10 Main Street, Chamber 503
Hackensack, NJ 07601

RE:

JP MORGAN CHASE BANK y
CATHLEEN PEREZ et. al
DOCKET NO. F-13398-18

REPLY TO CHASE’ S LETTER DATED JULY 18, 2019 In Response to Plaintiffs
Opposition of the Defendants Motion for a More Definite Statement Dated July 18, 2019.

JULY 19, 2019
Dear Honorable Judge Jerejian,

Good afternoon,

We are in receipt of plaintiff's opposition to our motion for a more definite statement,

and Responds as follows.

First, we assert that the plaintiff's complaint for foreclosure is not only insufficient
preventing us from forming and intelligent answer, but moreover lacking indispensable
elements as re stated more fully below.

That R. 4:64-1(b) (foreclosure actions), specifically requires that the plaintiff
include in the foreclosure complaint:
Case 2:12-cv-03319-SDW-SCM Document 96 Filed 07/25/19 Page 6 of 58 PagelD: 984
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(11) the names of all parties in interest whose interest is subordinate or affected
by the mortgage foreclosure action and, for each party, a description of the
nature of the interest, with sufficient particularity to give the court and parties
notice of the transaction or occurrence on which the interest is based including
recording date of the lien, encumbrance, or instrument creating the interest;

End.
The above verbatim narrative of R. 4:64-1(b) is A Rule! Not an option! and the plaintiff

must comply with the Rule.

For the first time plaintiffs’ counsel admits that there is an additional party of interest
(Fannie Mae) and as set forth in the rule as republished above they must be set forth and
identified in the foreclosure complaint together with the nature of their interest, with particularity
to give the court and the parties notice of the transaction or occurrence in which the interest is
based, including recording date of the lien encumbrance, or instrument creating the interest.

“Emphasis Added”

The disclosure as mandated by the rule is an indispensable element of a foreclosure

complaint. and plaintiffs have no right or authority to abrogate the rule.

That what plaintiffs are asking this court to do is to ignore indispensable elements of a

foreclosure complaint as codified under the rule.

Furthermore it remains undetermined at this time whether the party of in interest is an

indispensable party to be added as a plaintiff in the foreclosure complaint.

Additionally plaintiffs give no facts of any assignment empowering them to appear on
behalf of anyone, either as a servicer or under agency where they sold the mortgage to the party

in interest, claiming to possess an original note, an alleged fact which we challenge.
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Furthermore, if plaintiff Chase does in fact possesses an original note which is
indispensable when filing a foreclosure complaint, they do not own or possess the mortgage,

nor have they produced any evidence of an assignment.

Importantly, they split the note from the mortgage with one party alleging to possess a
note, and another party in interest undeniably possessing a mortgage, which was paid off by the
party in interest to plaintiff Chase upon the sale of the mortgage to the party of interest.

Equally Important, there is no evidence of a recording of indispensable assignment,

authorizing Chase as a servicer or agent.
PLAINTIFF CHASE EXPANDS CONTROVERSY IN THEIR ANSWER

Chase responds that its Complaint is sufficient because it alleged that it is the holder of
the Note and the Mortgage. Chase’s allegations are directly contradicted by public records
disclosed by Fannie Mae which show that shortly after the execution of the loan documents;
Chase transferred the loan to Fannie Mae while Chase remained the servicer. See Exhibit A
hereto. Specifically, the mortgage loan was sold to the Guaranteed REMIC Pass-Through
Certificates Fannie Mae REMIC Trust 2008-7 (“FNMA REMIC 2008 Trust”).

First, Chase has not alleged that it is a mere servicer. It alleges that it is the lender as if
held the Note and Mortgage continuously since 2008. Second, Although Chase’s counsel alleges
that the Note in a form negotiated to Chase in its possession (which it will have to prove), its
allegations that it remains the mortgagee are belied by Fannie Mae’s public disclosure and the
notable absence of any evidence of the assignment of the Mortgage to Chase — a necessary
condition to enable Chase to prosecute this foreclosure action. The loan level data for the
Cathleen and Alejandro Perez loan is shown below and was taken from the Fannie Mae Connect

Online Portal.
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Fanme Mae Loan Lcokup Results: Match Found

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; a disaster?

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Mortgage Loan Chrsing Dat 01-25-2008

Mortgage Company: JP MORGAN CHASE

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When the loan was sold, the FNMA REMIC 2008 Trust became the loan obligee and the
mortgagee. Even if the Note was negotiated back to Chase (which is questionable), it must allege
that it is a holder in due course of the Note. Regardless, it is not the mortgagee. Given that Chase
transferred the loan in 2008 to Fannie Mae and omitted (either inadvertently or intentionally)

recording an assignment is of no consequence. The loan, including the mortgage, was assigned to
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FNMA REMIC 2008 Trust. If the Mortgage was stripped from the Note in that transaction
(which is commonly the case in securitization transactions), Chase, as a servicer, still has no
standing to pursue its foreclosure complaint unless it alleges in an amended complaint (and

eventually proves) that it had been assigned the mortgage at the time of the filing of this action.
Chase acknowledges the precedent of the Appellate Division’s recent decision in Capital

One, N.A. v. Peck, 455 N.J. Super. 254 (App. Div. 2018). There, the Appellate Division

 

addressed whether an entity holding a note is different from the entity that held the mortgage
may prosecute a foreclosure action. The Appellate Division made clear that was not permissible.
“To preclude the possibility of one entity foreclosing on the home while the other enforces the
note, we now hold that when the note is separated from the mortgage, the plaintiff in a
foreclosure action must demonstrate both possession of the note and a valid mortgage
assignment prior to filing the complaint.” Id. at 259.
In order to bring a foreclosure action, the plaintiff must allege validity of the mortgage,

the amount of indebtedness, and the right of the mortgagee to foreclose on the
mortgaged property. Great Falls Bank v. Pardo, 263 N.J. Super. 388, 394, 622 A.2d 1353 (Ch.
Div. 1993), aff'd, 273 N.J. Super. 542, 547, 642 A.2d 1037 (App. Div. 1994). To have a right to
foreclose, or standing, "a party ... must own or control the underlying debt." Bank of N.Y. v.
Raftogianis, 418 N.J Super. 323, 327-28, 13 A.3d 435 (Ch. Div. 2010). Here, the Fannie Mae’s
public records evidence that it owns the loan. While Fannie Mae’s servicer, Chase, may
prosecute a foreclosure action it must allege “both possession of the note and a valid mortgage
assignment prior to filing the complaint.” Capital One, 455 N.J. Super. 259.

Based on the applicable law, Chase cannot proceed with its foreclosure action unless it makes

these allegations. If Chase does not have an assignment as required by the Appellate Division in
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Capital One, the action must be dismissed.’ If Chase refuses to acknowledge the true facts
surrounding the transfer of the loan to Fannie Mae in 2008 and seemingly attempts to conceal the
true status of the loan from the defendants and this Court, the defendants are unable to frame a
proper responsive pleading. Surely, the Court will not permit Chase to proceed on undisputedly

false allegations and require defendants to respond to such allegations. For these reasons,

defendants’ motion for a more definite statement should be granted.

Notice of Intent to Foreclose Is Fatally Flawed And Foreclosure Complaint Must Be

Dismissed.

Since plaintiff Chase acknowledges for the first time in their answer in opposition to
defendants motion for a more Definite Statement. That there is another party in interest (Fannie
Mae), It is an indispensable requirement pursuant to the FFA, that the party in interest who
holds the mortgage pursuant to a sale of the mortgage to them by plaintiff Chase must be
included in Notice Of Intent To Foreclosure, including their name, address and telephone
number. This is the law Not An Option! .see: (US BANK Nat. Ass’n v. GUILLAUME,
Supreme Court of New Jersey decided September term 2011, 209 N.J. 449, 38 A.3 d 570, 2012
N.J. Lexis 162, 2012 WL 603 307 )

In the case of GUILLAUME, the High Court of New Jersey Held: the Fair Foreclosure Act
requires that “the foreclosure plaintiffs list on the Notice of intent to foreclose the name and
address of the actual lender in addition to contact information for any loan servicer involved in
the mortgage...”

“The court over rules BANK OF NEW YORK v LACKS, (citation omitted ) which held

when the failure to identify the lender in the notice of intention is raised prior to the entry of the

 

' In that event, defendants will move to dismiss the complaint or any amended pleading.

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judgement the only remedy available to a trial court is the dismissal of the foreclosure action.
The court hold that a trial court adjudicating a foreclosure complaint in which the notice of
intention does not comply with N.J.S.A. 2A-50-56 (c — 11). May dismiss the action without
prejudice, order the servicer to corrected notice or impose other appropriate remedies...”
“The notice of intention served on the GUILLAUME, Did not Comply with the FFA
N.J.S.A. 2A-50-56 (c — 11).expressly states that the notice must include the name and address of
the lender and the telephone number of a representative of the lender whom the debtor my
contact if the debtor disagrees that a default occurred or contests the payment amount needed to
cure the default. The FFA defines “lender as the entity that currently holds the mortgage:
therefore, the Legislature has unmistakably directed that a homeowner shall be advised of
the exact entity to which he or she owes the balance of the loan. Although the identification
and contact information of a loan servicer is important information to include in the notice, it
does not meet the requirements for demonstrating substantial compliance FFA. The court holds
that the FFA requires that a notice of intention include the name and the address of the actual
lender, in addition to contact information for any loan servicer who is charged by the lender with
the responsibility to accept mortgage payments and/or negotiate a resolution of the dispute
between the lender and the homeowner. The Court’s decision applies retroactively because it is
applying the plain language of a 17- year old statue...” (Emphasis Added).

The High Court of the State of New Jersey “Supreme Court” has made clear that in a case
such as this where the notice of the intent to foreclose is defective in failing to include the name,
address and telephone number of the lender (Fannie Mae) the foreclosure complaint must be
dismissed.

(See copy of notice to foreclose attached.)
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The problems with the complaint do not stop there. Plaintiff Chase previously gave written
notice to the court, that it was unilaterally amending the caption of the complaint, without a
motion for leave of the court to do so, with the current complaint factual recitation not being
amended and remaining inaccurate on details.

Seemingly, Chase for the first time, now discloses thru a letter to the court that there is a
party in interest, potentially requiring the amendment of the caption yet again, together with a

complete factual recitation as mandated by the rule and set forth more fully above.

ADDITIONALLY, the mandatory indispensable Certification as filed by the plaintiff in the
complaint stating that there are no other cases filed or pending in any other court, is erroneous,
wherein the plaintiffs and their counsel knew that we filed a federal civil action related to the
mortgage more than 4 years before plaintiffs filed their civil action in this court for foreclosure,

creating yet another controversy, and mandating correction.

In closing we assert that the foreclosure complaint as filed and pending before this
Honorable Court is legally insufficient, vague, and ambiguous and we cannot reasonably be

required to frame a responsive pleading... where the complaint as here is an utter mess!

The plaintiff wrongfully seeks for this Honorable Court to “re-invent the wheel” when it
comes to law and rules on foreclosure, turning a foreclosure action from a legal proceeding into a

“parlor game” favoring the plaintiff.

Naturally this is extremely prejudicial to the defendants and threatens to compromise the
integrity of the state judicial system as a “fair impartial tribunal’, where defendants are

equally protected.
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' Wherefore we pray that this Honorable Court will grant the “just” relief sought by the
defendants.

Respectfully Submitted,

Ch
Cathleen Perez
July 18, 2019

-

Alejandro Perez
July 18, 2019
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Case 2:12-cy-03319-SDW-SCM_ Document 96 Filed 07/25/19 Page 14 of 58 PagelID: 992
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CERTIFICATION OF SERVICE

That I Cathleen Perez, the Defendant/Applicant in the above entitled matter do certify

that I have caused counsel of record and plaintiff counsel to be served with a True copy of within
legal papers delivered to the address below deposited in the U.S. Post Office on July 20, 2019

and hand delivered on July 22, 2019.

DELIVERED VIA U.S. CERTIFIED MAIL:

To: JP MORGAN CHASE, N.A.
Attn: Attorney for Plaintiffs
Cristina Z. Sinclair, Esq.
Bertone Piccini, LLP.

777 Terrace Avenue, Suite 201
Hasbrouck Heights, NJ 07604

OF
Cathleen Perezy
Defendant pro se’

July 19, 2019

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Cathleen Perez
236 Mabel Ann Ave
Franklin Lks, New Jersey 07417
erezcap(@optonline.net
201-906-5167

SUPERIOR COURT OF NEW JERSEY

FORECLOSURE PROCESSING SERVICE

PO BOX 971
LN Pere gs wa mu

TRENTON, NJ 08625 Bac 3S ray

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Delivered via_Certified USPS mail. JUL 24 2019

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. id

July 19, 2019

ATTN: FORECLOSURE PROCESSING SERVICES
RE: F-013398-18 Please File

Attached Defendant’s Letter Brief Dated July 18, 2019 In Response to Plaintiffs Opposition
of the Defendants Motion for a more Definite Statement Dated July 18, 2019

Superior Court Clerk,
Good Afternoon,

Here attached is Defendant’s Response to Plaintiff's opposition of the defendant motion for a more
Definite Statement.

to be filed on the Docket F013398.

 

Also attached please find an attached pre-paid envelope, please have both pages date stamped and
returned to us in envelope provided.

We thank you in advance.
Have a great day.

CPE —

Cathy Perez

Delivered via Certified mail USPS July 19, 2019
Attached Brief Letter
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EXHIBIT
OTICE OF INTENT TO FORECLOSURE

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Chase (Mail Code OH4-7399) CHAS Ee (re

P.O. Box 183205
Columbus, OH 43218
For Undeliverable Mail Only

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G00929 - 1 of $ NSPOHOLA-Z7 42052952 ocacess

CATHLEEN PEREZ

Acceleration Warning (Notice of Intent to Foreclose)

  

Account: eros
Property Address: —

“va(the “loan")
NN AVE
AKES, NJ 07417 (the “property”)

Dear CATHLEEN P

Our records show that your loan is in default and you have breached the terms of the Morigage
or Deed of Trust (“Security Instrument’) securing your loan.

Under the terms of the Security Instrument, JPMorgan Chase Bank, N.A. ("Chase") hereby
notifies you of the follawing:

7. You are in default because you have failed to pay the required monthly installments
commencing with the payment due 04/01/2012.

nN

As cf 10/24/2017, Tota! Monthly Payments (including principal, interest, and escrow if
applicable), late fees, insufficient funds (NSF) fees, and other fees and advances due
under the terms of your loan documenis in the total amount of $203,661.07 are past due.
This past-due amount is itemized below. If applicable, your account may have additional
escrow amounis that have been disbursed and are due on the loan.

If you have questions about the amounis detailed below, please call us as soon as
possibile at 1-800-848-9380,

Total Monthly Paymenis: $206,216.33
Late Fees: $0.00

NSF Fees: $0.00

Other Fees:1 $0.00
Advances:! $0.00
Amount Held in Suspense: $2,555.26

1Other Fees and Advances include those amounts assessed in accordance with
your foan documents, and/or permitted by applicable law, or that were authorized

for services rendered.

You are also responsible for paying any amounis that become due from the date of this
letter through the expiration date set forth in Paragraph 3 below. These amounts may
include, buf are not limited to, taxes, insurance, inspection fees, and other fees, as

permitted by your loan documents or applicable law.
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3. You have the right to cure the default on or before 11/28/2017, and avoid the initiation of
foreclosure proceedings.

4. Action required to cure the defautt; You must pay the Total Monthly Payments listed in
Paragraph 2 on or before 11/28/2017, in order to cure this default. All late fees, NSF
fees, and other fees and advances are still valid and will need to be repaid under the
terms of your loan documents.

5. If you fail to cure the default on or before 11/28/2017, Chase may accelerate the sums
secured by the Security instrument, take steps to terminate your ownership in the
property by commencing a foreclosure suit in a court of competent jurisdiction and sell
the property. If this happens, Chase may be entitled to collect its expenses incurred in
pursuing the remedies’ provided in the Security instrument, which may include, but not be
limited to, allowable foreclosure/attomey fees, and other expenses permitted by your loan
documents or applicable law, in an amount not to exceed that amount permitted by the
Rules Governing the Courts of the State of New Jersey.

You have the right to reinstate after acceleration of the loan and the right to bring a court
action to assert the nonexistence of a default, the right to assert in the foreclosure
proceeding the nonexistence of a default, or any other defense to acceleration,
foreclosure, and sale. in the event we commence a foreclosure proceeding against you,
you will still have a right to cure the default prior to entry of the foreclosure Judgment
pursuant to Section 5 of the Fair Foreclosure Act; however, you will be responsible for
our Court costs and attorney fees in an amount not to exceed that amount permitted
pursuant to the Rules Governing the Courts of the State of New Jersey.

6. If yourioanis quaranteed by the Rural Housing Service:

if the default is not cured by the date referenced above, the account is referred to
foreclosure, and the Rural Housing Service pays us a loss claim as a result of a
foreclosure, you may be responsible for repaying this claim to the Rural Housing Service.
If your personal llability for this account has not been discharged in bankmuptcy, the Rural
Housing Service may use all options, including those under the Debt Collection
Improvement Act (DCIA) to recaver the full amounts due. The DCIA provides for the
collection of outstanding federal debts through the Treasury Offset Program which allows
federal payments such as social security benefits to be reduced or “offset” in order to

repay the outstanding debt.

7. Inthe event that you transfer the property to another person, the transfer is subject to our
rights under the Security Instrument. The new owner of the property may have the right

to cure the default as provided in the Fair Foreclosure Act.

8. You are advised to seek counsel from an attorney of your own choosing concerning this
mortgage default situation. If you are unable to obtain an attorney, you may communicate
with the New Jersey Bar Association or Lawyer Referral Service in the county in which
the property is located, If you are unable to afford an attomey, you may communicate
with the Legal Services Office in the county in which the property is located.

8. You are advised of the possible availability of financial assistance for curing a default
from programs operated by the State or Federal government or nonprofit organizations, if
any, as identified by the Commissioner of Banking and insurance. A list of such programs

issued by the Commissioner is attached.

10. Please note that JPMorgan Chase Bank, N.A. is both the mortgage servicer and lender
for your loan. The address for your servicer and lender is listed below. If you disagree
with our assertion that a default has occurred or the correctness of our calculation of the
amount required to cure the default, or you have questions regarding the remittance

instructions below, you can contact Bruno Mejia at:
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Case 2:12-cv-03319-SDW-SCM Ragument.26 5 ose OAS HORA 85098 PF PagelD: 997

SWC F 013398-18 07/24/20 rans

Niall: nase
Attn: Collections Department
Mail Code OH4-7356
3415 Vision Drive
Columbus, OH 43219-6009

Phone: 1-800-848-9380

11. Kindly remit the Total Monthly Payments due, shown in Paragraph 2 above, to the remittance

72.

address listed below. Please note that Chase policy requires certified funds if two insufficient
funds (NSF) payments have been received in the last six months. In this event, Chase will not
accept a Direct Check, FastPay or SpeedPay. Payments cannot be made at Chase retail bank
rans. Please refer to the address below for payment information or call us If you have
questions.

Regular Mail: Attn: Mortgage Cash Operations Department
CHASE
PO BOX 78420
PHOENIX AZ 85082-8420

Overnight Mail: Attn: Mortgage Cash Operations Department
CHASE
PO BOX 78420 1820 EAST SKY HARBOR CIRCLE SOUTH
PHOENIX, AZ 85034-9700

Except as required by law, we are under no obligation to accept less than the full amount
owed. If you send us less than the full amount owed, we may in our sole discretion apply such
partial payment to your loan without waiving any default or waiving our right to accelerate the
loan and continue with foreclosure proceedings in accordance with Paragraph 5 above.

If you are unable to pay the amount past due, Chase has a variety of homeowner assistance
options that might help you resolve your default and keep your home; however, we need to
talk with you to discuss these options and determine which of them might be appropriate for
your circumstances. Please cail us as soon as possible at 1-800-848-9380.

13, While the loan remains in default, we will perform certain tasks to protect our interest in the

property, including visits to your property at regular intervals during the default. This will be
done to determine, as of the date of the inspection, the property condition, occupancy status,
and possibly your plans for curing the default and paying this loan on time. You should
anticipate that any costs incurred by Chase may be added to the amount you now owe if
permitted by your loan documents or applicable law.

Sincerely,

Chase

1-800-848-9380
1-800-582-0542 TTY
www.chase.com

Esta comunicacién contiene informacion importante acerca de la cuenta. Si tiene alguna pregunta o
necesita ayuda para traducirla, comuniquese con nosotros jlamando al 1-800-848-9380.
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Enclosed:
~ List of Entities Providing Assistance: New Jersey

CERTIFIED MAIL: Return Receipt Requested and First Class Mail
Important Legal Information

We are a debt collector

This communication is an attempt to collect a debt and any information obtained will be used for
that purpose. However, to the extent your original obligation was discharged or is subject to an
automatic stay of bankruptcy under Title 14 of the United States Code, this notice is for
compliance with non-bankruptcy law and/or informational purposes only and does not constitute
an attempt to collect a debt or to impose personal liability for such obligation. Nothing in this
letter (including our use of the words “your,” “loan,” “mortgage,” or “account"} means that you're
required to repay a debt that’s been discharged. Any payment you make on the account is
voluntary, but we may still have rights under the security instrument, including the right to
foreclose on the property.

if you are represented by an attorney, please refer this letter to your attorney and provide us
with the attorney's name, address, and telephone number.

information for Servicemembers and their dependents

If you or any occupant of your home are or recently were on active Military duty or related active
service, you may be eligible for benefits and protections under the federal Servicemembers Civil
Relief Act (SCRA), state law, or Chase policy. This includes protection from foreclosure or
eviction, and in some cases, interest rate benefits. Some protections also may be available if
you are the dependent of an eligible Servicemember. Although Servicemember interest rate
benefits under the Servicemembers Civil Relief Act don't allow you to defer payments, California
law aliows for a six-month deferral if certain conditions are met.

For more information, please call Chase Military Services at 1-877-469-0110.

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NJ Fair Foreclosure Act Notice of Intent to Foreclose — List of Entities
Providing Assistance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AGENCY NAME PHONE ADDRESS CITY ZIP
American Credit Alllance, inc 609-393-5400 26 S. Warren Street Trenton 08608
Attantic Human Resources, Inc 609-348-4131 1 S. New York Avenue Atlantic City 08401
CCCS of Central New Jersey 609-586-2574 1931 Nottingham Way Hamilion 08619
a of New Jersey 973-287-4324 185 Ridgedale Avenue Cedar Knolls 07927-1812
ait rousing Council of
Jersey Northem New 201-489-3552 | 131 Main Street Hackensack 07604
Gard i
Couneaiina ing rumen Credit 800-992-4557 225 Willowbrook Road Freehold 07728
persey Gounselin @ & Housing 856-227-3683 | 29S Black Horse Pike Blackwood og012
Decseor erent & Housing 856-541-1000 1840 S. Broadway Camden 08104
Mercer County Hispanic Association 609-392-2446 200 E. Siate Street, 2™ Floor Trenton 68607
mi mrunttien Core 732-780-3344 4215 Livingston Avenue North Brunswick og802
Housing Services Unit
Monmouth County Human Services 732-431-7998 £0. Box 2000 Freehold 07728
973-643-8800
1-800-NJ-OWNER
(loan counseling) i 07102
New Jersey Gitizen Action (Main Office) 1eaeTAxes.11 | 744 Bload Street, Suite 2080 Newark
(free tax preparation
assistance)

New Jersey Citizen Action (Central 732-266-4772 85 Raritan Avenue, Suite 100 Highland Park 08804

| verse
New Jersey Citizen Action (South Jersey) 856-966-3001 2 Riverside Drive, Suite 362 Camden 08103
pcean Communily Economie Action Now, 732-244-2351, Ext. 2 | 22 Hyers Street Toms River 08753-0773

| Paterson Coalition far Housing, inc 973-684-5998 262 Main Street, 5* Floor Paterson o7 605
nen Task Force for Community 973-279-2333 155 Ellison Streat Paterson 07505
contin can Action Board Housing 732-249-9700 90 Jersey Avenue New Brunswick 0BS03
Tri-County Community Action Agency 856-451-6330 110 Gohansey Street Bridgeton 08302
Urban League for Bergen County 201-568-4988 106 W. Palisade Avenue Engtewood 97631
Urban Leaque for Essex County 973-624-9535 508 Central Avenue Newark 07104
Urban League of Union County 908-351-7200 288 N, Broad Straet Elizabeth 07208
Homelessness Prevention Program
New Jersey Department of Community 868-889-6270"
Affairs
“Basic eligibitity is limited to: (a) single family owner/occupied dwellings with all those on the daed and mortgage occupying the house; (b) no mare than
one mortgage er lien encumbrance on the property; (c} no initiated or ongoing bankruptcy. Assistance wit! be in the form ofa loan, and a tien will be
placed on the property. The family must document the financial reason for nonpayment. At the time of the eligibility decision, the household must have
and document income sufficient to support the household and repay the loan. There is a fee for the credit check and property search.

 

As of 06/02/15
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BOE OL SOE Te OYI2A DOTS Bg 18 oF 24 Trane 1D: CHEM Fab St

Chase (Mail Code OH4-7399) CHAS E ap

P.O. Box 183205
Columbus, OH 43218
For Undeliverable Mail Only

10/24/2017

002826 - { of 8 NSPORDLA.27 32054352 ooncoDe

ALEJANDRO PEREZ

Acceleration Warning (Notice of intent to Foreclose)

 

Account: gaa the "loan')
Property Address: ~ NN AVE

KES, NJ 07417 (the “proparty”)
Dear ALEJANDRO

Our records show that your loan is in default and you have breached the terms of the Mortgage
or Deed of Trust ("Security Instrument’) securing your loan.

Under the terms of the Security instrument, JPMorgan Chase Bank, N.A. ("Chase") hereby
notifies you of the following:

1. You are in default because you have failed to pay the required monthly installments
commencing with the payment due 04/01/2012.

1

As of 10/24/2077, Total Monthly Payments (including principal, interest, and escrow if
applicable), fate fees, insufficient funds (NSF) fees, and other fees and advances due
under the terms of your loan documents in ihe total amount of $203,661.07 are past due.
This past-due amount is itemized below. If applicable, your account rnay have additional
escrow amounts that have been disbursed and are due on the loan.

if you have questions about the amounts detailed below, please call us as soon as
possible at 1-800-848-9380.

Total Monthly Payments: $206,216.33
Late Fees: $0.00

NSF Fees: $0.00

Other Fees:! $0.00
Advances:! $0.00
Amount Held in Suspense: $2,555.26

1Other Fees and Advances include those amounts assessed in accordance with
your loan documents, and/or permitted by applicable /aw, or that were authorized

for services rendered.

You are also responsible for paying any amounts that become due from the date of this
letter through the expiration date set forth in Paragraph 3 below. These amounts may
include, but are not limited to, taxes, insurance, inspection fees, and other fees, as
permitted by your loan documents or applicable law.
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3. You have the right to cure the default on or before 41/28/2017, and avoid the initiation of
foreclosure proceedings.

4. Action required to cure the default: You must pay the Total Monthly Payments listed in
Paragraph 2 on or before 11/28/2017, in order to cure this default All late fees, NSF
fees, and other fees and advances are still valid and will need to be repaid under the
terms of your loan documents.

5. If you fail to cure the default on or before 11/28/2017, Chase may accelerate the sums
secured by the Security instrument, take steps to terminate your ownership in the
property by commencing a foreclosure suit in a court of competent jurisdiction and sell
the property. If this happens, Chase may be entitied to collect its expenses incurred in
pursuing the remedies provided in the Security Instrument, which may include, but not be
limited to, allowable foreclosure/attomey fees, and other expenses permitted by your loan
documents or applicable law, in an arnount not to exceed that amount permitted by the
Rules Governing the Courts of the State of New Jersey.

You have the right fo reinstate after acceleration of the loan and the right to bring a court
action to assert the nonexistence of a default, the right to assert In the foreclosure
proceeding the nonexistence of a default, or any other defense to acceleration,
foreclosure, and sale. In the event we commence a foreclosure proceeding against you,
you will still have a right to cure the default prior to entry of the foreclosure judgment
pursuant to Section 5 of the Fair Foreclosure Act; however, you will be responsible for
our court costs and attorney fees in an amount not to exceed that amount permitted
pursuant to the Rules Governing the Courts of the State of New Jersey.

6. If your loan is guaranteed by the Rural Housing Service:

If the default is not cured by the date referenced above, the account is referred to
foreciosure, and the Rural Housing Service pays us a Joss claim as a result of a
foreclosure, you may be responsible for repaying this clalm to the Rural Housing Service.
if your personal liability for this account has not been discharged In bankruptcy, the Rural
Housing Service may use all options, including those under the Debt Collection
Improvement Act (DCIA) to recover the full amounts due. The OCIA provides for the
collection of outstanding federal debts through the Treasury Offset Program which allows
federal payments such as social security benefits to be reduced or “offset in order to
repay the outstanding debt.

7. In the event that you transfer the property to another person, the transfer is subject to our
rights under the Security Instrument. The new owner of the property may have the right
to cure the default as provided in the Fair Foreclosure Act.

8. You are advised to seek counsel from an attomey of your own choosing concerning this
mortgage default situation. if you are unable to obtain an attorney, you may communicate

with the New Jersey Bar Association or Lawyer Referral Service in the county in which
the property is located. If you are unable to afford an atiomey, you may communicate

with the Legal Services Office in the county in which the property is located.

9. You are advised of the possible availability of financial assistance for curing & default
from programs operated by the State or Federal government or nonprofit organizations, if
any, as identified by the Commissioner of Banking and Insurance. A list of such programs

issued by the Commissioner is attached.

10. Please note that JPMorgan Chase Bank, N.A. is both the mortgage servicer and lender
for your loan, The address for your servicer and lender is listed below. If you disagree

with our assertion that a default has occurred or the correctness of our calculation of the
amount required to cure the default, or you have questions regarding the remittance

instructions below, you can contact Bruno Mejia at:
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Bee SO SO ae bg BASF Se aE FRR 26 1087815 9

Mall: Unase
Attn: Collections Department
Mail Code OH4-7356
34715 Vision Drive
Columbus, OH 43219-6009

Phone: 1-800-848-9380

11. Kindly remit the Total Monthly Payments due, shown in Paragraph 2 above, to the remittance
address listed below. Please note that Chase policy requires certified funds If two insufficient
funds (NSF) payments have baen received in the last six months. In this event, Chase will not
accept a Direct Check, FastPay or SpeedPay. Payments cannot be made at Chase retail bank
branches. Please refer to the address below for payment information or call us If you have
questions.

Regular Mail: Attn: Mortgage Cash Operations Department
CHASE
PO BOX 78420
PHOENIX AZ 85062-8420

Overnight Mail: Attn: Mortgage Cash Operations Department

CHASE
PO BOX 78420 1820 EAST SKY HARBOR CIRCLE SOUTH

PHOENIX, AZ 85034-9700

Except as required by law, we are under no obligation to accept less than the full amount
owed. If you send us less than the full amount owed, we may in our sole discretion apply such
partial payment to your loan without waiving any default or waiving our right to accelerate the
loan and continue with foreclosure proceedings In accordance with Paragraph 5 above.

12. If you are unable to pay the amount past due, Chase has a variety of homeowner assistance
options that might help you resolve your default and keep your home; however, we need to
talk with you to discuss these options and determine which of them might be appropriate for
your circumstances. Please call us as soon as possible at 1-800-848-9380.

13. While the loan remains in default, we will perform certain tasks to protect our interest in the
property, including visits to your property at regular intervals during the default. This will be
done to determine, as of the date of the inspection, the property condition, occupancy status,
and possibly your plans for curing the default and paying this loan on time. You should
anticipate that any costs Incurred by Chase may be added to the amount you now owe if

permitted by your loan documents or applicable law,
Sincerely,

Chase
1-800-848-9380
1-800-582-0542 TTY
www.chase.com

Esta comunicacién contiene informacién importante acerca de Ja cuenta. Si tiene alguna pregunta o
necesita ayuda para traducirla, comuniquese con nosotros Ilamando al 1-800-848-9380,
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Enclosed:
- List of Entities Providing Assistance: New Jersey

CERTIFIED MAIL: Return Receipt Requested and First Class Mail
Important Legal Information

We are a debt collector

This communication is an attempt to collect a debt and any information obtained will be used for
that purpose. However, to the extent your original obligation was discharged or is subject to an
automatic stay of bankruptcy under Title 11 of the United States Code, this notice is for
compliance with non-bankruptcy faw and/or informational purposes only and does not constitute
an attempt to collect a debt or to impose personal liability for such obligation. Nothing in this
letter (including our use of the words “your,” “loan,” “mortgage,” or “account’} means that you're
required to repay a debt that's been discharged. Any payment you make on the account is
voluntary, but we may still have rights under the security instrument, including the right to
foreclose on the property.

If you are represented by an attorney, please refer this letter to your attorney and provide us
with the attorney's name, address, and telephone number,

Information for Servicemembers and their dependents

If you or any occupant of your home are or recently were on active Military duty or related active
service, you may be eligible for benefits and protections under the federal Servicemembers Civil
Relief Act (SCRA), state law, or Chase policy, This includes protection from foreclosure or
eviction, and in some cases, interest rate benefits. Some protections also may be available if
you are the dependent of an eligible Servicemember. Although Servicemember interest rate
benefits under the Servicemembers Civil Rellef Act don’t allow you to defer payments, California
law allows for a six-month deferral if certain conditions are met.

For more information, please cali Chase Military Services at 1-877-469-0110.

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NJ Fair Foreclosure Act Notice of Intent to Foreclose — List of Entities
Providing Assistance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AGENCY NAME PHONE ADDRESS CITY ZIP
American Credit Alliance, Inc 609-393-5400 26 S, Warren Street Trenton ogéog
Atlantic Human Resources, Inc 609-348-4131 1S. New York Avenue Atlantic City 03401
| GGCS of Central New Jersey 609-586-2574 1931 Notlingham Way Hamilton 08619
a of New Jersey 973-267-4324 185 Ridgedale Avenue Cedar Knolls 07927-1812
‘alt Housing Council of Nort
Jersey hema New [201-499-3562 | 131 Main Streat Hackensack 07604
; Garden State G redit
Counseling ‘in 800-992-4557 225 Willowbrook Road Freehold 07728
Development etng & Housing 856-227-3683 29 S Black Horse Pike Blackwood 08012
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Developmen ed & Housing 856-541-1000 1840 S. Broadway Camden 08104
Mercer County Hispanic Association 609-392-2446 200 E. State Street, 2° Floor Trenton 08607
ddiesex County Ec
| Oeeasek County Economic 732-790-3344 | 1245 Livingston Avenue North Brunewick 08802
Monmouth County Human Services 732-431-7998 Housing Semices Unit Freehotd 07728
973-643-8600
1-B00-NJ-OWNER
New Jersey Gitizen Action (Main Office) floan counseling) | 744 Broad Street, Suite 2080 Newark 07402

1-838-TAXES-11
(free tax preparation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

rt - assistance)
N jew Jersey Citizen Action (Central 732-246-4772 85 Raritan Avenue, Suite 100 Highland Park 08304
New Jersey Citizen Action (South Jersey) 656-966-3091 2 Riverside Drive, Suite 362 Camden 08103
pean Community Economic Action Now, 732-244-2351, Exi.2 | 22 Hyers Street Toms River 08753-0773
Paterson Coalition for Housing, inc 973-684-5988 262 Main Stree!, 5 Floor Paterson 07505
paerson Task Force for Caramunity 973-279-2333 455 Ellison Street Paterson 07505
Puerto Rican Action Board Housing 963
Coalition Unit 732-249-8700 90 Jersey Avenue New Srinswick 08
Tri-County Community Action Agancy 856-451-8330 110 Gohansey Steet Bridgeton 08302
Urban League for Bergen County 201-568-4988 106 W. Palisade Avenue Englewood 07834
Urban League for Essex County 973-624-9535 508 Central Avenue Newark 67101
Urban League of Union County 908-351-7200 288 N. Broad Street Elizabeth 07208
Homelessness Prevention Program
Aaa Jersey Department of Community 866-889-6270"

FS

 

 

 

“Basic eligibilily is limited to: (a) single family owner/accupled dwellings with ail those on the dead and mortgage occupying the house; (b) ho more than
one mortgage or lisn encumbrance on the property; (c) no Initiated ar ongoing baniguptcy. Assistance will be in the form of a oan, and a lien will be
placed on the properly. The family must document the financial reason for nonpayment. At the time of the eligibility decision, the hausahold must have
and document income sufficient to support the household and repay the loan. Thera is a fee for the credit check and property search.

As of 06/02/15

 

 

 
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EXHIBIT
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Fannie Mae Loan Lookup Results: Match Found

Pees Ene Ce noes nice et a On (Neen aa ees) 28
See PUM cea 236 MABELANN AVE

TAN ARINEBA CSET

Last 4 Diglts of Social Security Number: ****
Mortgage Loan Closing Date: 01-25-2008
Mortgage Company: JP MORGAN CHASE
SL On

 

Results — Our Records indicate:

Feame Mad owns your iOast that was closeo on of before May 31, 2006, Know-ng the Loan
Cios:ng Date is mportant because seme programs are avaliable only for the laans closed on

of before flay 34. 2009. You may ue efg:3.¢ for this progr

 

You may 2150 be ulgibie for other assistance programs exclusively for homeowners wilh
Fannie hige-owned loans, including the Mangage Heip Network and the Disaster
Rasponse Newark,

There may Dé excumstancés that probsbit you from financing home every improvements

 

with a Property Assessed Clean Encigy (PACE! loan s.nce Fannie Mae Owns the first mortgage

on yout hame. Contact your mortgage serv-cer before getting a PACE loan.

Abeut Us | Fannie M

 

Coreg ris.

 

Find Resources

Disaster Relief

Pearce

Recovering from
a disaster?

Thesa options may heip.

 

 

 

 

 

 
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(2) Attached Chase Letter Brief In Opposition To Perez Defendant
Motion To File A More Definite Statement Pursuant To Rule 4:64
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BERTONE | PICCINI

ATTORNEYS AT LAW

BERTONE PIOCINI LLP
777 TERRACE AVENUE, SUITE 201
HASBROUCK HEIGHTS, NJ 07604
T. 201.483.9333 F. 201.483.9187

www.bertonepiccini.com

CRISTINA SINCLAIR
Direct: 201.399.7235
csinclair@ bertonepiccini.com

July 18, 2019

Via eCourts

Hon. Edward A. Jerejian, P.J.Ch.
Bergen County Courthouse

10 Main Street, Chambers 503
Hackensack, NJ 07601

Re: JPMorgan Chase Bank, National Association v. Cathleen Perez, et al.
Docket No. F-13398-18

Dear Judge Jerejian:

This firm represents Plaintiff JPMorgan Chase Bank, National Association (“Chase”) in the
above-referenced matter. Please accept this letter brief in lieu of a more formal brief in opposition
to the Motion to File [sic] a More Definite Statement pursuant to Rule 4:6-4 (“the Motion”) filed by
Defendants, Cathleen Perez and Alejandro Perez (“Defendants”).

Rule 4:6-4 provides that a defendant may file a motion seeking a more definite statement,
when the complaint “is so vague or ambiguous that a party cannot reasonably be required to frame a
responsive pleading ....” The Rule further provides that “[t]he motion shall pomt out the defects
complained of and the details desired.” In their Motion papers Defendants complain that the
Foreclosure Complaint (“the Complaint”) fails to state whether Chase filed the Complaint on its
own behalf as the “Holder of the Note (in controversy)” or under “agency as the servicer of the
Mortgage ....” See Defendants’ Certification in support of Motion at 46. They also complain that
Chase failed to disclose the fis pendens on the property and that the Complaint is “so vague” that they
are unable to file an answer. Id, at (7, (12. However, as detailed herein, Chase’s Complaint is
properly pled as required by the Court Rules, specifically Rule 4:64-1, and the Motion should be
denied. See Complaint attached as Exhibit A to Certification of Cristina Z. Sinclair, Esq. (“Sinclair
Cert.”).

 

Defendants contend that the Complaint is vague because it fails to identify that the investor
in the mortgage is Federal National Mortgage Association (“Fannie Mae”). However, neither the
Court Rules nor the case law require that a foreclosure action be brought in the name of the investor
in the loan. The courts have recognized that because a servicer administers loans and collects and

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Hon. Edward A. Jerejian, P_J.Ch.
July 18, 2019
Page 2

distributes funds due from the borrowers, servicers typically are given the authority to prosecute

foreclosure proceedings. See Bank of New York v. Raftoganis, 418 NJ. Super, 323, 333 (App. Div.
2010). Accordingly, foreclosure actions may be brought in the name of the servicer and Chase is not

required to name Fannie Mae as a party in the Complaint. See e Capital One, NLA. v. Peck, 455 NJ.
Super. 254 (App. Div. 2018). Thus, the fact that Fannie Mae is an investor in Defendants’ mortgage
does not strip Chase of its night, as the holder of the Note and the Mortgage, to proceed with this
foreclosure.

A mortgagee may establish standing to foreclose by demonstrating either possession of the
note or an assignment of mortgage predating the filing of the complaint. See Deutsche Bank v.
Angeles, 428 NJ. Super, 315, 318 (App. Div. 2012)(citing Deutsche Bank Nat’l Trust Co. v
Mitchell, 422 NJ. Super. 214, 225 (App. Div. 2011)(holding that foreclosing lender must own or
control underlying debt to have standing). ‘The debt is here is reflected by the note, which is a
negotiable instrument as defined by N.LS.A. 12A:3-104. See NJ.S.A. 12A:3-104 (stating negotiable
instruments evidence promise to repay money made payable to order at issuance and do not include
additional undertakings or obligations other than repaying money). Chase is in possession of the
orginal note and is identified is the lender on the mortgage. Chase therefore has standing to
foreclose in its own name and is the proper plaintiff in this action.’

 

Defendants further complain that the Complaint fails to identify the 4s pendens. In support
of that argument Defendants cite to Rule 4:64-1(6)(11), which requires that a foreclosure complaint
name “all parties in interest whose interest is subordinate or affected by the mortgage foreclosure
action ....” However, the dis pendens is not a subordinate interest in the property. Rather, it is a
notice to the public of the pendency of litigation that may affect a patty’s interest in the property.
See N.JS.A. 20:3-10 (defining As pendens as notice of pendency of action affecting interests in
property that is subject of pending action). As such, a &s pendens is a notice to the public of the
pending litigation that is recorded afer a foreclosure action is filed and does not represent a
subordinate interest in the property that needs to be named in a foreclosure complaint. Id.
Defendants have otherwise not identified any person or entity with an interest in the property
subordinate to that of Chase that was not named in the foreclosure action but should have been.
Thus, this argument is without ment.

Finally, Defendants complain that the Complaint is so vague that they cannot respond.’ Yet,
Chase clearly pled each of the elements of a foreclosure action. The requirements for establishing a

 

' By letter dated July 1, 2019, counsel to Chase offered to make the original loan documents available for
inspection by Defendants in order that they may satisfy for themselves that Chase possesses those
documents. See Exhibit B to Sinclair Cert. However, Defendants have not responded to that offer. See
Sinclair Cert. at 5.

2 Defendants raise the issue that prior counsel submitted a certification pursuant to Rule 4:5-1 when it filed
the Complaint stating that there were no pending, related actions. This issue is not relevant to this Motion
seeking a more definite statement. Nonetheless, as this Court is aware from prior proceedings, that
certification has been acknowledged to be an error and as the Court and the parties are well aware there is a
pending action in the United States District Court, District of New Jersey, in which Defendants are suing
Chase for breach of contract and other claims based on Chase’s alleged failure to give Defendants a loan
modification for which they claim they qualified. Chase will gladly file an amended complaint or an amended

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Hon. Edward A. Jerejian, P.J.Ch.
July 18, 2019
Page3 —

prima faae right to foreclose a mortgage are long standing. Under New Jersey law, the only material
issues in a foreclosure proceeding that need to be established are: (1) the mortgage and loan
documents are valid; (2) the mortgage is in default; and (3) as a result of the default there is a

contractual right to foreclosure. See Thorpe v. Floremoore Corp., 20 NJ. Super, 34, 37 (App. Div.
1952). In the Complaint, Chase identifies the mortgage and note, see Exhibit A to Sinclair Cert. at

(1-3, that the mortgage is in default, id. at (7, and that there is a contractual nght to foreclose, id, at
{{4-8. Moreover, Defendants already filed a Motion to Dismiss the Complaint pursuant to Rule 4:6-
2, which was denied by this Court. See Exhibit C to Sinclair Cert. It is therefore undeniable that the
Complaint is properly pled as required by the Court Rules and the Motion should be denied.

Based on the foregoing reasons Chase respectfully requests that the Court deny Defendants’

Motion to File [sic] a More Definite Statement pursuant to Rule 4:6-4. Your Honor’s attention to
this matter is appreciated.

Respectfully submitted,

BERTONE PIOCINI LLP
/s/ Cristina Z. Sindair

Cristina Z. Sinclair, Esq.

CZS/sg
cc: Cathleen and Alejandro Perez

 

certification correcting this oversight if the Court so directs. However, this error does not render Chase’s
Complaint vague or ambiguous nor does it provide a legal basis for seeking a more definite statement.

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Cnistina Z. Sinclair, Esq. - Attomey # 02899-1998

BERTONE PICCINI, LLP

777 Terrace Avenue, Suite 201

Hasbrouck Heights, New Jersey 07604-3112

(201) 483-9333

A ttommeys for Defendant, JPMorgan Chase Bank, National Association

 

JPMORGAN CHASE BANK, NATIONAL
ASSOCIATION SUPERIOR COURT OF NEW JERSEY
CHANCERY DIVISION: BERGEN COUNTY
Plaintiffs,
VS, DOCKET NO.: F- 013398-18
CATHLEEN PEREZ; MR. PEREZ, CERTIFICATION OF
HUSBAND OF CATHLEEN PEREZ; CRISTINA Z. SINCLAIR, ESQ.
ALEJANDRO PEREZ; MRS, ALEJANDRO IN OPPOSITION TO DEFENDANTS’
PEREZ, HIS WIFE; PORCELLO MOTION TO “FILE A MORE DEFINITE
ENGINEERING INC; UNITED STATES STATEMENT PURSUANT TO RULE 4:6-4”
OF AMERICA DEFENDANT(S),
Defendants.

 

 

I, Cristina Z. Sinclair, Esq., of full age, do certify as follows:

1. I am an attomey-at-law of the State of New Jersey and am of counsel at Bertone
Piccini LLP. I am one of the attorneys responsible for the handling of this matter on behalf of
plaintiff JPMorgan Chase Bank, National Association (“Chase”) and, as such, am fully familiar with
the facts and statements made herein. I make this Certification based upon my own personal
knowledge obtained from handling this matter as well as pleadings filed in this litigation and publicly

recorded documents.

2. I submit this Certification in opposition to the Motion to File [sic] a More Definite
Statement pursuant to Rule 4:6-4 (“the Motion”) filed by Defendants, Cathleen Perez and Alejandro
Perez (“Defendants”).

3, Attached hereto as Exhibit A is a true and accurate copy of Chase’s Foreclosure

Complaint.
07/25/19 Page 35 of 58 PagelD: 1013
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4, Attached hereto as Exhibit B is a true and accurate copy of my letter dated July 1,

2019, to Defendants.
5, To date, Defendants have not responded to my July 1, 2019, correspondence.

6. Attached hereto as Exhibit C is a true and accurate copy of the Court’s August 31,

2018 Order denying Defendants’ Motion to Dismiss.

I hereby certify that the foregoing statements made by me are true. I am aware that if any of

the foregoing statements are willfully false, I am subject to punishment.

BERTONE PICCINI LLP

A tomes for Defendant,
JPMorgan Chase Bank, National Association

By: s/ Cristina Z, Sinclair

Cnstina Z. Sinclair, Esq.
Dated: July 18, 2019
i | od | :

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EXHIBIT A

 
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FORECLOSURE FOR USL BY CLERKS OFHICHE ONLY
CASE INFORMATION PAYMENT TYPE: Oo CK Oo CG gO CA Ql MO
STATEMENT RECEPTNO,
(FCIS)
Use for initial Chancery Division — General Equity AMOUNT:
foreclosure pleadings (not motions) under Rule 4:5-1. OVERPAYMENT:

 

Pleading will be rejected for filing, under Rule 1:5-6(c), if
information is not furnished or if attorney’s signature is not |_BATCH NUMBER:

 

   

 

affixed. BATCH DATE:
SECTION A: TO BE COMPLETED BY ALL PARTIES
CAPTION

 
  
 

 
 

COUNTY OF VENUE
BERGEN

 

 
 

 

JPMORGAN CHASE BANK, NATIONAL ASSOCIATION vs. CATHLEEN PEREZ et al. DOCKET NUMBER (When available)

 

 

NAME OF FILING PARTY (IES) (e.g., John Doe, Plaintiff) DOCUMENT TYPE
JPMORGAN CHASE BANK, NATIONAL ASSOCIATION, PLAINTIFF &] COMPLAINT CJ ANSWER [OTHER
ATTORNEY NAME (iF APPLICABLE) FIRM NAME (ff applicable)

Matthew Gross, Esq.
Phelan Hallinan Diamond & Joucs, PC

 

MAILING ADDRESS DAYTIME TELEPHONE NUMBER
400 Fellowship Road, Suite 100
Mu Laurel, NJ 08054 856-813-5500
SECTION B: TO BE COMPLETED BY PLAINTIFE TO INITIAL COMPLAINT

 

     

 

FORECLOSURE CASE TYPE NUMBER IS THIS A HIGH RISK MORTGAGE PURSUANT TO
P.L.2009,c.84 AND P.L.2008,c.127 OO Yes i No

 

(Joss ~—s IN PERSONAM TAX FORECLOSURE
fJ089 ~~ INREM TAX FORECLOSURE PURCHASE MONEY MORTGAGE (1 YES {J NO
SQ0RF RESIDENTIAL MORTGAGE FORECLOSURE
CJocr COMMERCIAL MORTGAGE FORECLOSURE
{lecD CONDOMINIUM OR HOMBOWNER’S ASSOCIATION LIEN RELATED PENDING CASE O Yes {& NO
FORECLOSURE IF YES, LIST DOCKET NUMBERS:
Clo91 STRICT FORECLOSURE
CIOFP OPTIONAL FORECLOSURE PROCEDURE (NO SALE)

 

FULL PHYSICAL STREET ADDRESS OF PROPERTY: MUNICIPALITY CODE(*) 0220

236 MABLE ANN AVE, FRANKLIN LAKES, NJ 07417-1912 COMMONLY
KNOWN AS 236 MABLE ANN AVE, BOROUGH OF FRANKLIN LAKES, NJ- | MUNICIPAL BLOCK: 2504.01
07417-1912
ZIP CODE: 07417 COUNTY: BERGEN (LOTS): 9

 

ALL FILING PARTIES MUST SIGN AND PRENE NAAMEGS) AND DATE THEE FORMAT BELOW

 

I certify that confidential personal identifiers have been redacted from documents now submitted to the court, and will be redacted from all
documents submitted In the future in accordance with Rule 1:38-7(b).

 

ATTORNEY/SELF REPRESENTED SIGNATURE PRINT ATTORNEY/SELF REPRESENTED NAME DATE

‘si Matthew Gross Matthew Gross, Esq. June 13, 2018

 

 

 

 

*The Municipality Codes are available at http://Avww.judiciary.state.nj.us/forms/CN 11343 _municodes_1 1-9-2

   

Revised Effective 11/9/2009, CN 10169
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1125CN- - - cument 96 Filed 07/25/19 Page 38 of 58 PagelD: 1016
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806919***

PHELAN HALLINAN DIAMOND & JONES, PC
Matthew Gross, Esq. ID No. 053122014

400 Fellowship Road Suite 100

Mt. Laurel, NJ 08054

 

856-813-5500
Attorney for Plaintiff
JPMORGAN CHASE BANK, NATIONAL | SUPERIOR COURT OF NEW JERSEY
ASSOCIATION CHANCERY DIVISION
PLAINTIFE BERGEN COUNTY
Vs. DOCKET NO:
CATHLEEN PEREZ;
CIVIL ACTION
MR PEREZ, HUSBAND OF CATHLEEN | Fp ect osuRE COMPLAINT
ALEJANDRO PEREZ;
MRS. ALEJANDRO PEREZ, HIS WIFE;
PORCELLO ENGINEERING INC.;
UNITED STATES OF AMERICA
DEFENDANT(S)

 

 

JPMORGAN CHASE BANK, NATIONAL ASSOCIATION, having its place of

business at 3415 VISION DRIVE, COLUMBUS, OH 43219 by way of Complaint says:
FIRST COUNT

1. On January 25, 2008, CATHLEEN PEREZ and ALEJANDRO PEREZ, executed to
JPMORGAN CHASE BANK, N.A. an obligation (NOTE), to secure the sum of $417,000.00,
payable on February 1, 2038, with the initial rate of interest of 5.125 % per annum, payable by
payments of $2,270.51 per month for interest and principal. The Note further provides for a late
charge of 5 percent for any payment not received 15 days from the date due.

2. To secure the payment of the obligation described in Paragraph 1, CATHLEEN
PEREZ and ALEJANDRO PEREZ executed to JPMORGAN CHASE BANK, N.A. a NON

PURCHASE MONEY MORTGAGE on the same date as the Note, and thereby conveyed to it,
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in fee the land hereinafter described, on the express condition that such conveyance should be
void if payment should be made at the time and times, and in the manner described in the
obligation. The Mortgage was recorded in the Office of the Clerk of BERGEN County, in Book
17190, Page 566. The Mortgage was recorded February 25, 2008.

a. The Plaintiff is the holder of the Note.

b. CATHLEEN PEREZ is aka C HANENBERG PEREZ.

c. CATHLEEN PEREZ is aka CATHLEEN H. PEREZ

d. ALEJANDRO PEREZ is aka ALEJANORO V. PEREZ

3. The full physical address of the mortgaged premises that is the land that secures the
Note, is 236 MABLE ANN AVE, FRANKLIN LAKES, NJ 07417-1912 commonly known as
236 MABLE ANN AVE, BOROUGH OF FRANKLIN LAKES, NJ 07417-1912. A description
of the property as contained within the recorded mortgage is listed below with any additional
relief sought in the form of a reformation of the below description set forth in a subsequent count
herein (if applicable).

All that certain tract or parcel of land, situated, lying and being in the Borough of
Franklin Lakes in the County of Bergen and the State of New Jersey, more
particularly described as follows:

TRACT |:

BEGINNING at a point in the southerly line of proposed street to be known as Mable
Ann Avenue (fifty feet wide), said point of beginning being distant 825 feet from the
easterly line of Pulis Avenue (thirty-three feet wide) along the southerly line of
Mable Ann Avenue, also said southerly line of Mable Ann Avenue being distant 350
feet parallel with the southerly line of the New York Susquehanna and Western
Railroad and running thence (1) easterly along said southerly line of Mable Ann
Avenue 75 feet to the southeasterly line of Pierre Street; thence (2) southerly at right
angles to said Mable Ann Avenue 150 feet to a point; thence (3) westerly and parallel
with the first course 75 feet to a point; thence (4) northerly, and parallel with the

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second course 150 feet to the point or place of BEGINNING.
TRACT I:

BEGINNING at a point in the southwesterly line of Mable Ann Avenue where the
same is intersected by the center line of Pierre Street; thence (1) along the center line
of Pierre Street South 39 degrees 59 minutes 29 seconds West 150.00 feet to a point;
thence (2) north 50 degrees 00 minutes 31 seconds West 25.00 feet to a point; thence
(3) along the northwesterly line of Pierre Street North 39 degrees 59 minutes 29
seconds East 150.00 feet to a point in the southwesterly line of Mable Ann Avenue;
thence (4) along the same south 50 degrees 00 minutes 3] seconds East 25.00 feet to
the point or place of BEGINNING.

The said premises are more particularly described in accordance with a Survey made
by Howard E. Post, L.S., dated June 11, 1996, as follows:

BEGINNING at a point in the southerly line of Mable Ann Avenue (50 feet wide)
said point being distant 815.86 feet along said line on a course of South 50 degrees
00 minutes 31 seconds East from the point formed by the intersection of the westerly
prolongation of said southerly line with the northerly prolongation of the easterly line
of Pulis Avenue (50 feet wide) and running (1) South 50 degrees 00 minutes 31
seconds East along the southerly line of Mable Ann Avenue 100.00 feet to a point in
the former centerline of Pierre Street, now vacated; thence (2) South 39 degrees 59
minutes 29 seconds West along said line 150.00 feet to a point; thence (3) North 50
degrees 00 minutes 31 seconds West 100.00 feet to a point; thence (4) North 39
degrees 59 minutes 29 seconds East 150.00 feet to a point in the southerly line of
Mable Ann Avenue and the point of BEGINNING.

FOR INFORMATION ONLY:

Being Commonly Known as 236 Mable Ann Avenue, Franklin Lakes, New Jersey.
Being Also Known as Lot 9 in Block 2504.01 on the Tax Map of the Borough of
Franklin Lakes.

4. The Mortgage contains a provision that, if applicable, together with, and in addition to,
the monthly payments of principal and interest payable under the terms of the Promissory Note,
the Mortgagors will pay each month, on the payment due date as set forth in the Note, until such
time as the Note is paid in full, any amounts required to be paid proportionately from escrow,

including, but not limited to, taxes and insurance on the premises,
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5. No other instruments appear of record which affect or may affect the premises
described in Paragraph 3 except:

a. MR. PEREZ, HUSBAND OF CATHLEEN PEREZ is hereby named a party
defendant herein for any lien, claim or interest he may have in, to, or on the
mortgaged premises, which were acquired after the date of the mortgage, because
he is the husband of CATHLEEN PEREZ and it not being known whether or not
she is married. This defendant is also joined for any lien, claim or interest he
may have in, to or on the mortgaged premises by virtue of the Domestic
Partnership Act N.J.S 26:8A-6. The mortgage loan documents establish that at
the time of the mortgage CATHLEEN PEREZ and ALEJANDRO PEREZ were
married.

b. MRS. ALEJANDRO PEREZ, HIS WIFE is hereby named a party defendant
herein for any lien, claim or interest she may have in, to, or on the mortgaged
premises, which were acquired after the date of the mortgage, because she is the
wife of ALEJANDRO PEREZ and it not being known whether or not he is
married. This defendant is also joined for any lien, claim or interest she may
have in, to or on the mortgaged premises by virtue of the Domestic Partnership
Act N.J.S 26:8A4-6. The mortgage loan documents establish that at the time of the
mortgage ALEJANDRO PEREZ and CATHLEEN PEREZ were married.

c. PORCELLO ENGINEERING INC. is hereby named a party defendant herein for

any lien, claim or interest it may have in, to, or on the mortgaged premises by

virtue of the following JUDGMENT.
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i. FRED PORCELLO versus CATHY PEREZ, ALEX PEREZ filed in the
Superior Court of New Jersey, Judgment No: J-234996-2014 entered on
December 2, 2014 in the amount of $19,882.80 plus cost and interest.

d. UNITED STATES OF AMERICA is hereby named a party defendant herein for
any lien, claim or interest it may have in, to, or on the mortgaged premises by
virtue of the following FEDERAL TAX LIEN.

i. UNITED STATES OF AMERICA versus ALEJANDRO PEREZ & C.
HANENBERG PEREZ, dated February 16, 2017 and recorded February
28, 2017 in Book 2548, Page 31 in the amount of $38,605.17.

6. The note contains an agreement that if the borrower defaults by failing to pay in full
any monthly payments, then Lender may require immediate payment in full of the principal
balance remaining due and all accrued interest.

7. The obligor(s) has/have failed to make the installment payment due on April 1, 2012,
and all payments becoming due thereafter. Therefore, the loan is in default.

8. As a result of said default, plaintiff hereby elects and declares that the whole unpaid
principal sum due on the Note and Mortgage, along with the all unpaid interest, advances, fees
and costs, shall be accelerated and is now due and payable.

9. Any interest or lien which the defendants have, or claim to have, in or upon the
mortgaged premises or some part thereof is subject to the lien of plaintiffs mortgage.

10. Notice was sent in compliance with the Fair Foreclosure Act more than 30 days

prior to filing of the within complaint.
i | ) ' ‘

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WHEREFORE, plaintiff demands judgment:

a. Fixing the amount due on its mortgage.

b. Barring and foreclosing the defendants and each of them of all equity of
redemption in to said lands.

c. Directing that the plaintiff be paid the amount due on its mortgage with Interest
and costs.

d. Adjudging that said lands be sold according to law to satisfy the amount due
plaintiff.

e. Appointing a receiver of rents, issues and profits of said lands.
Case 2:12-cv- -SDW-SCM Document 96 Filed 07/25/19 Page 44 of 58 PageID: 1022
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SECOND COUNT

1. By the terms of the Note/Bond and Mortgage referred to in paragraphs # 1 and # 2 of
the First Count of this Complaint, the plaintiff is entitled to possession of the tract of land with
the appurtenances as more particularly described in paragraph # 3 of the First Count.

2, On April 1, 2012, the mortgage went in default. An installment of principal and
interest, and if applicable, insurance and taxes was due and has not been received by the plaintiff.

3. The plaintiff, by the terms of the Note/Bond and Mortgage, is entitled to possession of
the premises described in paragraph # 3 of the First Count of this Complaint except as against
those tenants protected under N.J.S.A. 2A: 18-61.1, et seq.

4. The defendants named in paragraph # | and paragraph # 5 of the First Count of this
Complaint have or may claim to have certain rights in the premises described in paragraph # 3 of
the First Count of this Complaint and by reason thereof have since the date set forth in paragraph
# 2 above deprived the plaintiff herein of the possession of the premises aforesaid.

WHEREFORE, Plaintiff demands judgment against defendants except those persons

protected under N.J.S.A. 2A: 18-61.1, et seq.;
a. For possession of the said premises to plaintiff, its successors or assignee and/or
the purchaser at a foreclosure sale.
b. For damages for mesne profits.

c. For costs.
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THIRD COUNT

It having been revealed that the property address on the Plaintiff's mortgage and Note
were incorrectly stated as 236 Mabel Ann Ave, Franklin Lakes, NJ 07417 requiring reformation,
the plaintiff desires its mortgage documents to be reformed to correct the property address
description to 236 Mable Ann Ave, Franklin Lakes, NJ 07417.

WHEREFORE it is respectfully requested that the mortgage documents be reformed to
reflect the correct mortgage address and the Final Judgment entered in this matter provided for
reformation of the plaintiff's mortgage documents so as to correct the clerical error set forth

therein.
PHELAN HALLINAN DIAMOND & JONES, PC
/s/ Matthew Gross

Matthew Gross, Esq.
Attomey for Plaintiff

Dated: June 13, 2018
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Case 2:44 GV03819 SDW-SCM Document 96 Filed 07/25/19 Page 46 of 58 PagelID: 1024
-F-013398-18 07/18/2019 1:58:18 PM Pg 13 of 24 Trans ID: CHC2019292434

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CERTIFICATION PURSUANT TO RULE 1:38-7(b)

I hereby certify that all confidential personal identifiers have been redacted from documents
now submitted to the court, and will be redacted from all documents submitted in the future in

accordance with Rule 1:38-7(b).

PHELAN HALLINAN DIAMOND & JONES, PC
/s/ Matthew Gross

Matthew Gross, Esq.

Attorney for Plaintiff

Dated: June 13, 2018
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CERTIFICATION
In accordance with Rule 4:5-1(b)(2), I hereby certify that pursuant to Rule 4:64-1(a),
prior to filing the within complaint, I have caused a title search of the public record to be made
for the purpose of identifying any lien holders or other persons or entities with an interest in the

property that is the subject of this foreclosure.

PHELAN HALLINAN DIAMOND & JONES,
PC

/s/ Matthew Gross

Matthew Gross, Esq.

Attorney for Plaintiff

Dated: June 13, 2018
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CERTIFICATION PURSUANT TO RULE 4:5-1

The matter in controversy in this Complaint is not the subject of any other action pending
in any other Court nor is it the subject of a pending Arbitration proceeding, nor are any other
actions or Arbitration proceedings contemplated, and further, to the best of my knowledge, all
parties who should be joined in this action have been joined, plaintiff however reserves its right
to institute a deficiency suit following the foreclosure consistent with the appropriate New Jersey

Statutes.
PHELAN HALLINAN DIAMOND & JONES, PC
/s/ Matthew Gross
Matthew Gross, Esq.
Attomey for Plaintiff

Dated: June 13, 2018
Case 2:12-cv- 9-SDW-SCM_ Document 96 Filed 07/25/19 Page 49 of 58 PagelD: 1027
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PHELAN HALLINAN DIAMOND & JONES, PC

Matthew Gross, Esq. ID No. 053122014
400 Fellowship Road Suite 100

Mt. Laurel, NJ 08054

856-813-5500

Attorney for Plaintiff

JPMORGAN CHASE BANK, NATIONAL
ASSOCIATION
PLAINTIFF

VS.

CATHLEEN PEREZ, ET AL.
DEFENDANT (S)

 

SUPERIOR COURT OF NEW JERSEY
CHANCERY DIVISION
BERGEN COUNTY

DOCKET NO:

CIVIL ACTION

CERTIFICATION OF DILIGENT
INQUIRY TO BE ANNEXED TO
RESIDENTIAL MORTGAGE
FORECLOSURE COMPLAINTS
PURSUANT TO RULE 1:5-6(c)(1)(E) AND
RULE 4:64-1(a)(2) and (a)(3)

Matthew Gross, Esq., of full age, hereby certifies and says:

1. On June 26, 2018, I communicated by written communication with the following named

employee(s) of JPMorgan Chase Bank, N.A., who stated that he/she personally reviewed the

complaint on June 22, 2018 to be filed with the court and that he/she confirmed compliance with

Rule 4:64-1(b)(1) through (b)(10) and (b)(12) through (b)(13).

2. The name, title and responsibilities of the plaintiffs employee(s) or plaintiffs mortgage

loan servicer's employee(s) with whom I communicated are: Melissa Ratliff, Operations Senior

Specialist I, whose responsibilities are document execution and review and verification of

documents related to foreclosure.

3. Based on my communication with the above-named employee(s) of plaintiff or plaintiff's

mortgage loan servicer, as well as my own inspection of the loan information supplied by the

plaintiff or the plaintiffs mortgage loan servicer and other diligent inquiry, I execute this

certification to comply with the requirements of Rules 1:4-8(a), 1:5-6(c)(1)(E), and 4:64-1(a)(2)

and (a)(3).
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Case 2: Testy. 038319. SDW-SCM Document 96 _ Filed 07/25/19 Page 50 of 58 PagelD: 1028
-F-013398-18 07/18/2019 1:58:18 PM Pg 17 of 24 Trans ID: CHC2019292434

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4. I am aware that I have a continuing obligation under Rule 1:4-8 to amend this
certification if a reasonable opportunity for the further investigation or discovery indicates
insufficient evidentiary support for any factual assertions proffered by plaintiff in any court
filings or documents in the case.

5. I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

Phelan Hallinan Diamond & Jones, PC

By: /s/ Matthew Gross
Matthew Gross, Esq.
Attorney for Plaintiff

Date: June 26, 2018
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Foreclosure Case Information Statement

Case Details: BERGEN | General Equity Docket # 013398-18

Case Caption: JPMORGAN CHASE BANK VS PEREZ
CATHLEEN
Case Initiation date: 06/27/2018

Plaintiff(s)

Name: JPMORGAN CHASE BANK NATIONAL A
Address Line 1: 3415 VISION DRIVE
Address Line 2:

City: COLUMBUS

Attorney Name: MATTHEW B GROSS

State: OH

Case Type: RESIDENTIAL MORTGAGE
FORECLOSURE
Document Type: Complaint

(1)
Party Type: Business

Corporation Type: Corporation

Zip: 43219 Phone:

Email Address:

MATTHEW.GROSS.JEFIS@PHELANHALLINA
N.COM

Defendant(s)

Name: CATHLEEN PEREZ
Address Line 1: 236 MABLE ANN AVE
Address Line 2:

City: FRANKLIN LAKES State: NJ

Attorney Name:

(6)

Party Type: Individual
Corporation Type:

Zip: 07417- Phone:
1912

Email Address:

 

Name: CATHLEEN PEREZ MR

Party Type: Individual

Address Line 1: 236 MABLE ANN AVE Corporation Type:

Address Line 2:

City: FRANKLIN LAKES State: NJ Zip: 07417- Phone:
1912

Attorney Name:

Email Address:

 

Name: ALEJANDRO PEREZ
Address Line 1: 236 MABLE ANN AVE
Address Line 2:

City: FRANKLIN LAKES State: NJ

Party Type: Individua!

Corporation Type:

Zip: 07417- Phone:

1912
' | | \

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Attorney Name: Email Address:
Name: ALEJANDRO PEREZ MRS Party Type: Individual
Address Line 1: 236 MABLE ANN AVE Corporation Type:

Address Line 2:

City: FRANKLIN LAKES State: NJ Zip: 07417- Phone:
Attorney Name: email Address:
Name; PORCELLO ENGINEERING INC Party Type: Business

Address Line 1: 12 Maple Ave Corporation Type: Other
Address Line 2:

City: Pine Brook State: NJ Zip: 07058 Phone:
Attorney Name: Email Address:
Name: UNITED STATES OF AMERICA Party Type: Business

Address Line 1: CO US ATTORNEY GENERAL Corporation Type: Other
DISTRICT NJ

Address Line 2: FEDERAL BLDG 970 BROAD STREET

City: NEWARK State: NJ Zip: 07102- Phone:

2534

Attorney Name: Email Address:
Property(s) (1)
Property Address: 236 MABLE ANN AVE County: BERGEN

Municipality: FRANKLIN LAKES BORO Block: 2504.01 Lot: 9

Zip: 07417

| certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/27/2018 /si MATTHEW B GROSS
Dated Signed
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EXHIBIT B

 
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July 1, 2019
Via First Class Mail and E-Mail - Perezcap@Optoniline.net

Cathleen Perez

Alejandro Perez

236 Mabel Ann Avenue

Franklin Lakes, New Jersey 07417

Re: JPMorgan Chase Bank v. Perez
Docket No, F-13398-18

Dear Mr. and Mrs. Perez:

I am in receipt of your Motion to Vacate Default. Please be advised that I will make the
original loan documents (Note and Mortgage) available for your review at my office if you
would like the opportunity. If so, please advise at your earliest convenience and provide me with
potential dates and times that you are available for the review so that we can arrange a mutually

agreeable time.

Very truly yours,

Ca Procint LLP

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Cristina Z. Sinclaw Esq.

CZS/sg

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EXHIBIT C

 
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JP Morgan Chase, N.A. SUPERIOR COURT OF NEW JERSEY
Chancery Division
Plaintiff, Bergen County
v. Docket No. F-13398-18
Cathleen Perez, et al. ORDER
Defendants.

 

THIS MATTER, having come before the Court upon application of Defendants, upon
notice to all counsel, and the Court having considered the moving papers submitted, having heard
oral argument of counsel and the parties, if any, and having considered same, and for good cause
shown;

IT IS on this 31% day of August, 2018, hereby ORDERED:

l. Defendants’ Motion to Dismiss is hereby DENIED; and

2. A copy of this Order shall be served upon all parties within seven (7) days of the
date hereof

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HON. BP WARD A TERESIAN, P.J.Ch.

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SWC F 013398-18 09/04/2018 Pg2of2 Trans ID: CHC2018490734

JP Morgan Chase, N.A. v. Cathleen Perez, et. al Docket No. F-13398-18
Attachment to Order Dated August 31,201 9

This matter comes before the court by way of Defendant Cathleen Perez Motion to Dismiss For
Failure to State a Claim under R. 4:6-2 filed on July 25, 2018. The Motion to Dismiss was opposed
by Plaintiff JP Morgan Chase on August 23, 2018.

 

Typically, in reviewing a motion to dismiss under Rule 4:6-2(e), our inquiry is limited to
examining the legal sufficiency of the facts alleged on the face of the complaint. Reider v.
Department of Transp., 221 N.J. Super, 547, 552 (App. Div. 1987). R. 4:5-2 states that a pleading,
“shall contain a statement of the facts on which the claim is based.” However here, Defendant
moves to dismiss the complaint on the contention that Plaintiff failed to comply with the Fair Debt
Collection Practices Act, which requires Plaintiff to verify the debt or cease collection activity.

The Fair Debt Collection Practices Act, 15 U.S.C. § 1692g(a)(1)-(4), requires a notice to be sent
prior to debt collection that includes: (1) the amount of the debt, (2) the name of the creditor, (3) a
statement that the debt will be presumed valid unless the consumer disputes the validity of the debt
within 30 days after receipt of the notice, and (4) a statement that the debt collector will send the
consumer verification of the debt, or a copy of the judgment against the consumer, if disputed in
writing, within 30 days.

Pursuant to (4), Defendant requested verification of the debt consistent with the FDCPA on April
24, 2018. Plaintiff subsequently responded in a manner consistent with FDCPA verification
requirements on June 1, 2018. Specifically, the response included copies of the Note, Mortgage,
loan modification agreement and an admission by Defendants of their obligations under the Note
and Mortgage. Thus, Plaintiff established a colorable right to the debt. Casterline_v. Credit
Protective Services of I.C. Sys. Inc., 1991 U.S. Dist. LEXIS 21728 *5 (D.N.J. June 26, 1991).
Once the verification response is sent, the debt collector is legally entitled to resume debt collection
efforts. 15 U.S.C. § 1692g(b). Therefore, Plaintiff's filing of its Complaint on June 27, 2018, did
not violate the FDCPA.

 

For the foregoing reasons, Defendant’s motion is denied. An order accompanies this decision.
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